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UNITED STATES DISTRICT CC)URT
DISTRICT OF CONNECTICUT

 

]OHN DOE,
Plainti]j€ Civil No. 3:l7cv364 (]BA)
v.

QUINNIPIAC UNIVERSITY, TERRI ]OHNSON,

AND SEANN KALAGHER, March 31, 2017
Defendant$.

 

 

RULING DENYING PLAINTIFF’S MOTION FOR PRELIMINARY IN]UNCTION

Plaintiff ]ohn Doe filed this action against Defendants Quinnipiac University (“QU” or the
“University”), Terri lohnson and Seann Kalagher on March 2, 2017 alleging violations of Title IX
against QU on the basis of erroneous outcome (Count One), selective enforcement (Count TWo)
and deliberate indifference (Count Three), as Well as breach of contract (Count Four) and breach
of the covenant of good faith and fair dealing (Count Five). Additionally, he brings a claim of
tortious interference With contract against Defendants ]ohnson and Kalagher (Count SiX).
Simultaneously, Plaintiff filed a Motion [Doc. # 2] for Temporary Restraining Order and for
Preliminary lnjunction (“Mot. for TRO/Pl”) “restraining Quinnipiac from holding a Hearing in a
pending disciplinary proceeding against Plaintiff until such time as it can properly investigate the
underlying claims and prepare an unbiased and adequate report for the Hearing Committee.” (Pl.’s
Mot. for TRO/Pl at 1.) The Court denied [Doc. # 22] Plaintiff s Motion for TRO as moot on
consent With QU’s agreement to postpone the hearing scheduled for the next day, March 3, 2017
so the parties could brief and be heard on Plaintiffs’ l\/lotion for a Preliminary lnjunction.
Argument on the Motion for Preliminary lnjunction Was held l\/larch 8, 2017 . For the following

reasons, Plaintiff s Motion is denied and the Hearing may proceed forthwith.

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I. Background
A. Complaints Against Plaintiff: The Investigation and Plaintiff’s Response

Plaintiff is currently a student at QU involved in a Title lX disciplinary investigation (the
“lnvestigation”) which was initiated in ]une 2016 when a female student at the University, ]ane
Roe, filed a formal complaint against him alleging lntimate Partner Violence, Assault, Breach of
Peace, Disturbing the Peace and Property Damage. (Compl. jj l, 3.) According to Plaintiff, Roe
brought this complaint against him one hour after he broke up with her following an lS-month
on-and-off relationship and after lane Roe “among others things, begged ]ohn Doe to see her; went
to ]ohn Doe’s home unannounced; went in to his home searching for ]ohn Doe; refused to leave
when ]ohn Doe asked her to do so, thus forcing ]ohn Doe to leave his home; and fell asleep in ]ohn
Doe’s bed waiting for him to get home. lane Roe continually teXted ]ohn Doe and wrote that if he
did not see her, he left her ‘no option.”’ (Id. g l.) One hour before she filed a complaint, Plaintiff
alleges that she threatened, “l will make sure you can never go near me again.” (Id.)

As required by QU’s Title IX Policy Against Gender-based Discrimination and SeXual
Misconduct, the Deputy Title IX Coordinator, Seann Kalagher appointed three impartial
investigators (the “lnvestigators”) from different areas of the University to conduct the
lnvestigation. (See EX. A (Title IX Policy) to Def.’s Objection to Pl.’s l\/lot. for TRO/Pl (“Def.’s

) ))

Opp n ) at 15). During the lnvestigation, the lnvestigators interviewed a multitude of witnesses,
including Plaintiff (See EX. B (Letter from Terri ]ohnson dated February 24, 2017) to Def.’s Opp’n).
After ]ane Roe 2, lane Roe’s sorority sister and a former girlfriend of Plaintiff, was interviewed, QU

chose to undertake an investigation into her allegations as well and filed a formal complaint on

lane Roe 2’s behalf. (Compl. j 2). Plaintiff “told QU investigators that ]ane Roe and lane Roe 2

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were both hurt that he had broken up with each of them and both had stalked and harassed him
during their relationships.” (Id.)

ln October 2016, the lnvestigators issued a 250-page investigative report (the “Report” or
the “lnvestigation Report”), which they gave to Plaintiff at a meeting, marking the first time
Plaintiff had seen the evidence against him. (Id. j 3.) The Report found that there was “sufficient
information to conclude there may have been violations of the Title IX policy and student code of
conduct” including all of the charges alleged by lane Roe (lntimate Partner Violence, Assault,
Breach of Peace, Disturbing the Peace and Property Damage).1 (EX. 1 (Investigation Report) [Doc.
# 11] to Compl. at 4.) The lnvestigators recommended that Plaintiff be suspended for a year if he
accepted their findings.2 (Compl. g 3.) Plaintiff alleges that in reading the lnvestigation Report

he learned that QU did not follow Title lX’s and QU’s own policies and procedures
in conducting the lnvestigation and in fact acted in direct contradiction of its own
procedures, [treating] the two women complainants more favorably than ]ohn Doe
because he is male, thereby discriminating against him based on seX in violation of
Title IX. For example, the interviews were one-sided and included hearsay. The
investigators completely ignored the evidence of stalking, harassment and assault
by . . . lane Roe and lane Roe 2 against ]ohn Doe and never investigated or
questioned the complainants about that evidence, ignored allegations that lane Roe
violated the confidentiality surrounding the investigation and the No Contact
Order that issued against her, and provided benefits for lane Roe and lane Roe 2
but not for ]ohn Doe.

(Id. g 4.)
Plaintiff had the opportunity to submit a response to challenge any information and

documents, which he did (the “Response”), providing significantly more details and additional

 

1 With regard to lane Roe 2, the Report finds that Plaintiff may have breached all of the
same provisions as with lane Roe except it does not include assault.

2 This is not disputed, although it does not appear to be included in the Report itself.

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evidence supporting his version of events and identifying what he saw as the problems with the
lnvestigation to date. (Id. g 5.) At his request, QU accommodated Plaintiff s ADHD condition by
providing him additional time to submit this Response. (EX. B to Def.’s Opp’n at 2.) Although
acknowledging Plaintiffs allegations of stalking and harassment against Roe and Roe 2, no one re-
interviewed either woman regarding Plaintiffs claims about their behavior or investigated his side
of the story.3
B. The Title IX Grievance Hearing4

The Title IX Grievance Committee (the “Committee”) consists of three University staff
members trained annually on Title IX issues. (Amended EX. A (“EX. A”) [Doc. # 25] (QU Title IX
Policy Against Gender-based Discrimination and SeXual Misconduct) to Def.’s Opp’n at 16.)

According to QU’s Policy:

The deputy Title IX coordinator for student affairs will convene the Title IX
Grievance Committee (committee) to conduct a hearing once charges have been
assigned following an investigation, and the accused student has not accepted
responsibility or has not accepted the investigator’s proposed sanction. The
committee is responsible for determining whether it is more likely than not that the

 

3 Under its Title IX Policy, QU will undertake an investigation on a student’s behalf when
appropriate. (EX. A to Def.’s Opp’n at 15.) At no time did the investigators find it appropriate to
file a formal complaint on Plaintiff s behalf against lane Roe or lane Roe 2. (Id.) The lnvestigators,
however, found reasonable grounds to proceed with a Title IX Grievance Hearing (the “Hearing”)
against Plaintiff. (Id.) Plaintiff, in the week before Oral Argument on his Preliminary lnjunction
Motion, formally filed complaints against lane Roe and lane Roe 2. lnvestigations of those
complaints will follow a separate schedule.

4 At Plaintiffs request, the Hearing was not scheduled during his first semester final eXams
and was instead scheduled for the beginning of the second semester. (EX. B to Def.’s Opp’n at 2.)
Plaintiff then asked that it be rescheduled to avoid the beginning of classes, and QU complied,
moving the hearing to February 8, 2017. (Id.) Finally the Hearing was once more postponed at
Plaintiff s request due to a conflict with his class schedule and re-scheduled for March 3, 2017. (Id.)
When his request for another postponement was denied, he commenced this action.

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accused individual violated the Student Code of Conduct. lf the accused student is
found responsible, the committee shall assign appropriate sanctions in accordance
with this policy and the Student Code of Conduct process. The goal of the hearing
is to provide a resolution through an equitable process, respecting the rights of all
participants

(Id.)

lt appears that the Committee relies primarily on the lnvestigation Report in making its
determination (See id. (“the hearing script ensures . . . the investigator will present the results and
findings of the investigation.”).) However, Plaintiff is given an opportunity to challenge
information and documents prior to the Hearing, which he did in the form of his voluminous
Response-including screenshots of text messages, print outs of emails and other concrete evidence
that may tend to undermine the hearsay contained in the lnvestigation Report. (Ex. A to Def.’s
Opp’n at 14.) The parties agree Plaintiff s Response will also be provided to the Committee,
although this procedure is not made clear in the text of QU’s Policy. Although the Committee
might ask questions of Plaintiff if they so choose, beyond Plaintiff s Response, Plaintiff is not
guaranteed any opportunity to speak.5 (Id. at 17-18.) The Committee deliberates privately after
“conclusion of the investigation presentation and questioning” to decide, by majority, whether the
accused student is responsible for the charged conduct code violations, after which there is a
sanctions phase if any such violations are found. (Id. at 18.) Like the first phase, any sanctions

imposed must be by a majority of the Committee, again after private deliberation (Id.)

 

5 Pursuant to QU’s hearing script, Plaintiff, as the accused student, is provided an
opportunity to plead “responsible,” “not responsible,” or decline to make a plea, for each conduct
code charge. (Id. at 18.) At the sanctions phase the Committee will accept a verbal or written impact
statement from Plaintiff. (Id.) These are the only two instances where Plaintiff will speak at the
Hearing itself except to respond to any questions from the Committee.

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C. Plaintiff Challenges the Fairness of the Investigation

At some point after submitting his Response Plaintiff requested that Associate Vice
President of Operations and Title lX Coordinator, Defendant Terri ]ohnson, who manages QU’s
compliance with Title IX, review the lnvestigation that was performed by the lnvestigators and
postpone the Hearing until such underlying review was completed, as he claimed the lnvestigation
was untimely, biased and in violation of the ADA. (Compl. g 6.) The Title IX Coordinator reviewed
Plaintiffs contentions, as Well as the lnvestigation performed by the lnvestigators and found that
the lnvestigation was timely, adequate, and fair. (Compl. j 6; Ex. B to Def.’s Opp’n). Ms. ]ohnson
indicated that there would not be another investigation performed as Plaintiff had requested and
that the Hearing “will remain as scheduled and take place on March 3, 2017.”6 (Compl. g 6.)

Plaintiff s primary concern with the lnvestigation is that by not investigating his side of the
events in question, he has been denied the opportunity to adequately defend himself against the
most serious charge, intimate partner violence. QU’s policy divides this charge of sexual
misconduct into two specific categories-“relationship violence” and “stalking.” (Ex. A to Def.’s

Opp’n at 11.) “Relationship violence” is defined as “a pattern of behavior in an intimate

 

6 According to Defendants, on February 27 , Plaintiff requested the Hearing scheduled for
March 3, 2017 be postponed. (Def.’s Opp’n at 3.) Before every hearing, the Deputy Title IX
Coordinator assigns three members of the University staff trained in Title IX issues to the Title IX
Grievance Committee to conduct the hearing. (Ex. A to Id. at 16). Plaintiff complained that there
was a conflict of interest because one of the assigned members reported to the Deputy Title IX
Coordinator, Assistant Dean Seann Kalagher. That same day, Plaintiff was re-assured that there
was no conflict because the assigned Grievance Committee member had no prior involvement
with the plaintiff and also Seann Kalagher did not have any involvement in the decision-making
process at the hearing. (See Ex. C (Email dated February 27, 2017) to Id.) On February 28, 2017,
the plaintiff was informed that his request to postpone the Hearing was denied and that it would
proceed as scheduled on March 3, 2017. (See Ex. D (Letter dated February 28, 2017) to Id.)

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relationship that is used to establish power and control over another person through fear and
intimidation.” (Id.) Plaintiff argues evidence of Roe and Roe 2’s behavior demonstrating lack of
such fear and intimidation constitutes his primary defense. He alleges that despite four months of
investigation including interviewing many witnesses regarding lane Roe’s and lane Roe 2’s
complaints, “[a]t no point since the lnvestigation began has anyone from QU even spoken to lane
Roe or lane Roe 2 about - much less investigated - ]ohn Doe’s side of the events and allegations
concerning their stalking and harassment.” (Id. j 7.)7

Plaintiff has just over two months before his classes end and he should graduate. (Id. g 10.)
Since the lnvestigation began in 2016, QU addressed any safety concerns by issuing a mutual No
Contact Order (“NCO”) between ]ohn Doe and lane Roe and one particular witness. ]ohn Doe has
abided by that order. (Id.) lane Roe and ]ohn Doe have co-existed at QU since their breakup in
]une 2016 with no problems other than ]ohn Doe’s complaints that ]ane Roe breached the
confidentiality of the process and the NCO. lane Roe 2 resides in Boston. (Id.)

The day prior to the scheduled Hearing, on March 2, 2017 , the plaintiff filed his l\/lotion for
Temporary Restraining Order asking this Court to require QU to “postpone the Hearing and
conduct an independent and unbiased investigation that complies with Title IX and QU’s

Publications.” (Pl.’s l\/lot. for TRO at 36.)

 

7 Plaintiff also alleges that QU has repeatedly denied ]ohn Doe’s requests to keep
confidential certain highly sensitive and personal information regarding his psychological issues
and disabilities, as well as HIPPA-protected medical information. (Id. g 7 .) He requested it be given
only to the Hearing Committee as it provides some context for the events in the investigation, but
QU insists that information must also be provided to the complainants, one of whom has been
harassing him in public through her friends. (Id.)

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II. Discussion

A. Legal Standard

A party who seeks a TRO must make the same showing that is required for a preliminary
injunction. Proctor da Gamble Co. v. Cheesborough-Pond’s, Inc., 747 F.2d 114, 118 (2d Cir. 1984).
“[A] preliminary injunction is an extraordinary remedy that should not be granted as a routine
matter.” ]SG Trading Corp. v. Tray-Wrap, Inc., 917 F.2d 75, 80 (2d Cir. 1990). Generally, a party
seeking a preliminary injunction must show (1) “a likelihood of success on the merits or . . .
sufficiently serious questions going to the merits to make them a fair ground for litigation and a
balance of hardships tipping decidedly in the plaintiffs favor”; (2) a likelihood of “irreparable
injury in the absence of an injunction”; (3) that “the balance of hardships tips in the plaintiffs
favor”; and (4) that the “public interest would not be disserved” by the issuance of an injunction.
Salinger v. Colting, 607 F.3d 68, 79-80 (2d Cir. 2010) (alterations and internal quotation marks
omitted).

B. No Preliminary Injunction is Warranted Because Plaintiff Does not Demonstrate
Irreparable Harm

“Perhaps the single most important prerequisite for the issuance of a preliminary
injunction is a demonstration that if it is not granted the applicant is likely to suffer irreparable
harm before a decision on the merits can be rendered.” Bell 6 Howell: Mamiya Co. v. Masel Supply
Co. Corp., 719 F.2d 42, 45 (2d Cir. 1983) (quoting 11 C. Wright & A. Miller, Federal Practice and
Procedure § 2948, at 431 (1973)). The Second Circuit has defined irreparable harm “as certain and
imminent harm for which a monetary award does not adequately compensate.” Wisdom Imp. Sales
Co. v. Labatt Brewing Co., 339 F.3d 101, 113 (2d Cir. 2003); see also Tom Doherty Assocs., Inc. v.
Saban Entm’t, Inc., 60 F.3d 27, 37 (2d Cir. 1995) (“lrreparable harm is an injury that is not remote

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or speculative but actual and imminent, and for which a monetary award cannot be adequate
compensation.”) (internal quotation marks and citations omitted).

A plaintiff must connect future harm to the absence of an injunction (i.e., show that he or
she will be irreparably harmed if the Court does not grant the requested preliminary injunction).
See e.g., Salinger, 607 F.3d at 79_80; Nat’l Elevator Cab e’a D00r Corp. v. H e’a B, Irlc., No.
07CV1562(ERK)(RML), 2008 WL 207843, at *6 (E.D.N.Y. ]an. 24, 2008), order ajj"d and remanded
sub nom Nat’l Elevator Cab 64 Door Corp. v. He§“B, Irzc., 282 F. App’x 885 (2d Cir. 2008) (“the
injunction must prevent or remedy the harm.”). The Second Circuit has held that a party seeking
a preliminary injunction must establish more than a mere “possibility” of irreparable harm. Rather,
it must show that irreparable harm is “likely” to occur. See ]SG Tradirlg Corp., 917 F.2d at 79.

Plaintiff essentially identifies two different harms he contends are irreparable absent
issuance of an injunction: emotional distress and violation of his constitutional right not to be

discriminated against based on his gender.8 Defendant argues that until the Hearing is completed

 

8 Plaintiff makes two additional arguments that merit little discussion First, he asserts that
his grades have suffered as a result of the significant time he already spent over winter break
preparing his Response and will continue to suffer should he be required to spend more time
preparing for the Hearing itself. Plaintiff then concludes with his personal view that this will affect
his future educational and employment opportunities. Second, he claims that he would not have
suffered the continued harassment by lane Roe’s friends had the investigation been conducted
fairly and his first complaints about the harassment and violations of the NCO been addressed. To
the extent that these arguments implicate harm that Plaintiff has already suffered in the past, any
injunction regarding the Hearing would not remedy or prevent that harm and therefore they have
no bearing on the Court’s limited determination Additionally, any link between an allegedly unfair
Hearing, as opposed to the Hearing under any circumstances, and future harm to his grades is
entirely speculative. Furthermore, insofar as Plaintiff claims the loss of educational or employment
opportunities, his failure to present any evidence of an actual lost opportunity precludes finding
irreparable harm on that basis.

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there can be no irreparable harm, since no discipline has yet been imposed. Plaintiff acknowledges
he found no cases where a court granted a preliminary injunction or temporary restraining order
enjoining a disciplinary hearing, but argues such action is required here because the irreparable
harm focuses not on potential discipline, but on having to go through the purportedly unfair
Hearing, whether Plaintiff is found responsible or not.

i. Plainti]j°s Claimed Future Extreme Emotional Injury is Speculative

Plaintiff principally focuses on his argument that he will be irreparably emotionally harmed
if the Hearing goes forward because the lnvestigation favored the female complainants over him
“by refusing to . . . investigate [his] defense that includes allegations of stalking and harassment
against the female complainants,” or to investigate his initial complaints about ]ane Roe’s breaches
of confidentiality and the No Contact Order. (Pl.’s Mot. for TRO at 10.)

Plaintiff proffers a letter dated February 6, 2017 from his psychiatrist, Dr. Ierome H.
Liebowitz, M.D., who has treated him for his anxiety and Attention-Deficit/Hyperactivity Disorder
(ADHD) on and off since 2004 as evidence of the irreparable harm Plaintiff will suffer if subjected
to this allegedly biased and unfair Hearing. The letter states in part:

1t is my professional opinion that the current investigation process has been
detrimental to [Plaintiffs] emotional health and well-being, causing extreme stress
and anxiety, in large part because he feels it has been very biased and he is not being
given a fair hearing. lt is my opinion that the investigation itself has been traumatic
for [Plaintiff]-and a hearing under these circumstances could set off a downward
spiral of anxiety and depression of a magnitude he has never had to deal with.

(Ex. 5 (Letter from Dr. Liebowitz) [Doc. # 13] to Compl. at 2.) Plaintiff, presuming such injury,
claims that “[n]o one can know the long-term effect of this [downward spiral], but it can never be

undone.” (Pl.’s Mot. for TRO at 11.)

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Dr. Liebowitz’s opinion about the degree and nature of emotional harm to his patient if
required to participate in the Hearing following the trauma of the lnvestigation is speculative. His
opinion that “a hearing under these circumstances could set off a downward spiral . . does not
use the probative formulation of an opinion based on a reasonable degree of medical certainty that
Plaintiff will suffer this harm from the Hearing occurring “under these circumstances.” (Ex. 5 to
Compl. at 2 (emphasis added).) Dr. Liebowitz goes on to state that if the Hearing proceeds, certain
accommodations should be provided Plaintiff. (Id. at 2.) He does not distinguish Plaintiff s
circumstances from the inherent trauma of an investigation for a patient with Plaintiffs history
and the emotional stress of a hearing on such serious charges, focusing instead on the detriment
to Plaintiff caused “in large part” by Plaintiffs feelings of a biased process and an unfair Hearing.
Nor does Dr. Liebowitz offer any opinion that a Hearing following the additional investigation
Plaintiff seeks would be materially different if the same potential for suspension loomed.

The Court is unpersuaded that Plaintiff has demonstrated that the injunction he seeks will
remedy or relieve the injury he claims if the Hearing is held under the current circumstances

ii. Plainti]jf has not Demonstrated Presumptive Irreparable Harm

Plaintiff asserts that he will experience continued gender discrimination if the Hearing
proceeds under the current circumstances, that Title IX confers upon him the constitutional right

to be free from gender discrimination and that possible violation of this right presumptively shows

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irreparable harm.9 He relies on Able v. United States, 847 F. Supp. 1038, 1043 (E.D.N.Y. 1994),10
which in turn relies on Second Circuit cases relating to violation of prisoners’ rights and
articulating the principle that irreparable harm may be presumed from circumstances showing risk
of impairment to constitutional rights. See Mz'tchell v. Caomo 748 F.2d 804 (2d Cir. 1984); Covirzo
v. Patrz'ssz', 967 F.2d 73 (2d Cir. 1992). Mz'tchell held that “[g]iven the evidence of increasing
overcrowding in the state system and its potentially dangerous consequences, which constitute the
alleged threat to plaintiffs’ eighth amendment rights . . . no further showing of irreparable injury
is necessary.” 748 F.2d at 806. Similarly, in Covz'no, the court, citing Mz'tchell, found that “given the

fundamental right involved, namely, the right to be free from unreasonable searches . . . [the

 

9 Plaintiff contends that because the University receives federal funding, Title IX places it
in the same shoes as a public actor and therefore the nature of Plaintiff s right is constitutional
despite being statutorily derived. The Ninth Circuit has found that violation of a civil rights statute
gives rise to a presumption of irreparable injury for purposes of a preliminary injunction Silver
Sage Partners, Ltd. v. City of Desert Hot Springs, 251 F.3d 814, 827 (9th Cir. 2001). Defendants do
not address whether a Title IX violation can constitute a constitutional violation by QU and the
Court need not reach this issue because Plaintiff has not presented sufficient facts at this stage to
demonstrate violation of his statutory rights.

10 In Able the plaintiffs sought an order enjoining the defendants United States and
Secretary of Defense from enforcing an Act already in effect, which the plaintiffs argued violated
their constitutional rights to equal protection and free speech. Id. at 1041. The Act in question, as
interpreted by the Secretary, treated “any statement of homosexual orientation wherever and
whenever made in the past and to whatever person, even a statement to this court, as proof of an
intent to engage in homosexual acts” despite having an “avowed policy . . . that not ‘homosexual
orientation’ but only homosexual ‘conduct’ is a ‘bar’ to service.” Id. at 1040-41. The district court
therefore found that preliminarily enjoining the defendants’ further enforcement of the Act
protected the plaintiffs’ continued right to exercise their right to speak, i.e. to declare themselves
to be homosexuals, in order to proceed with their case.

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plaintiff] has sufficiently demonstrated for preliminary injunction purposes that he may suffer
irreparable harm arising from a possible deprivation of his constitutional rights.” 967 F.2d at 7 7 .11

ln a different context the Supreme Court recognized that “[t]he loss of First Amendment
freedoms, for even minimal periods of time, unquestionably constitutes irreparable injury,” but
did so based on a determination that it was “clear . . . that First Amendment interests were either
threatened or in fact being impaired at the time relief was sought.” Elrod v. Barns, 427 U.S. 347,
373 (1976). However, more than a mere allegation of constitutional violation is required for
irreparable harm to be presumed. See Chaplaincy of Fall Gospel Charches v. Erzgland, 454 F.3d 290,
301 (D.C. Cir. 2006) (“[T]his court has construed Elrod to require movants to do more than merely
allege a violation of freedom of expression in order to satisfy the irreparable injury prong of the

preliminary injunction frame-work”). Thus, “the constitutional deprivation [must be]

 

11 ln jolly v. Coaghlin, the court, relying on Mitchell and Covirlo, stated “it is the alleged
violation of a constitutional right that triggers a finding of irreparable harm.” 76 F.3d 468, 482 (2d
Cir. 1996) (emphasis in original). Both Mz'tchell and Covz'no based their findings of irreparable
harm on the applicant’s demonstration of imminent threatened constitutional violation under the
circumstances absent an injunction See Mitchell, 748 F.2d at 806 (“Given the evidence of...”);
Covirlo, 967 F.2d at 77 (The plaintiff “sufficiently demonstrated. . .”). ln Mitchell it was undisputed
that the Department of Correctional Service’s plan to shut down the facility in which the plaintiffs
were housed would result in their being transferred into already overcrowded prisons (filled to
116% of permanent capacity) in the face of evidence regarding the dangerous risks associated with
overcrowding, namely potential increases in riots, death and injury. 748 F.2d at 805. ln Covirzo, the
plaintiff challenged as unconstitutional a policy permitting routine and random visual body-cavity
searches, which he refused to undergo on two occasions and each time was administratively
sanctioned and placed in “lock up’7 for several days. 967 F.2d at 76.

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convincingly shown and that violation [must] carr[y] noncompensable damages.”12 Dorzohae v.
Patersorl, 715 F. Supp. 2d 306, 315 (N.D.N.Y. 2010); see also Srnith v. Fredrico, No. 12-CV-04408
ADS ETB, 2013 wL 122954, at 16 (E.D.N.Y. lan. s, 2013).

Conversely, there is no presumption of irreparable harm where the plaintiff has not offered
sufficient evidence for a court to conclude that there is a “clear,” Elrod, 427 U.S. at 373, or
“convincing” Dorzohae, 715 F. Supp. 2d at 315, threat of an “actual and imminent” constitutional
violation, Torn Doherty Assocs., Inc., 60 F.3d at 37. Here, Plaintiffs basic contention is that the
Hearing itself, under the current circumstances, will cause him irreparable harm because QU
(specifically the Committee, the decision making body at the Hearing) will discriminate against
him on the basis of his sex in violation of Title IX because the lnvestigation Report was gender
biased and unfair. However, his negative prediction is speculation and the record to date lacks any
convincing evidence that the Hearing or its unknown outcome will likely violate his civil rights.

Plaintiffs argument that he will suffer either actual or presumed irreparable harm boils
down to his complaints that the lnvestigation itself was biased and that the Report was so infused
with that bias that it will inevitably prejudice the Hearing.13 However, with respect to the

lnvestigation, the lnvestigators included Plaintiff s allegations and versions of the events from his

 

12 Defendant does not argue that Plaintiff s alleged civil rights violation may be adequately
compensated by monetary award.

13 With respect to the lnvestigation’s bias, he asserts the following: the University was
obligated under Title lX to investigate Roe and Roe 2 based upon evidence uncovered during the
lnvestigation indicating sexual misconduct but did not; the lnvestigators did not re-interview Roe
or Roe 2 regarding new information and evidence Plaintiff brought up in his interview; the
lnvestigators did not interview his parents despite interviewing Roe’s mother; and the lnvestigators
allowed both Roe and Roe 2 to review their statements before being included in the Report but not
Plaintiff. (Ex. 2 to Compl. at 20-21.)

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interview in their Report. (See Ex. 1 to Compl at 53-63.) Additionally, they interviewed witnesses
identified by Plaintiff (Steven Aastrachan and Matthew Condon) and those interviews were
included in the Report. The lnvestigators also attempted to contact the students (Eric Ross and
Andie Ferreira) who lived above Plaintiff and who he claims to be his friends (Ex. 2 to Compl. at
8)) but they were not cooperative. (lnvestigation Report at 65.) Ross indicated that he would be
willing to speak With lnvestigators if they followed up With him via e-mail, but then never
responded when the lnvestigators did so. (Id.) Additionally, the lnvestigators attempted to contact
Ferreira who was roomed with Ross but no replies were received to either e-mail or phone requests.
(Id.) The Court is unpersuaded that Plaintiffs critique of the lnvestigation demonstrates it was so
flawed and biased that the Hearing itself or its outcome, though drawing from the evidence recited
in the Report, will likely be discriminatory in violation of Plaintiffs Title lX rights.

ln terms of the role of the Committee and the Hearing, Plaintiff has not challenged the
procedures governing the Hearing, the composition of the Committee, or the training of its
members, as a basis for his claim that his Title IX rights are likely to be violated. At this point, there
is no basis to infer a likelihood that the Committee will treat Plaintiff less favorably than “if gender
roles were reversed and [Roe and Roe 2] were male.” (Ex. 2 (Plaintiffs Response) to Compl. at 20.)

Significantly, the Committee is independent from the lnvestigators who conducted the
lnvestigation and submitted the Report. The Committee is charged with the task of “determining
whether it is more likely than not that the accused individual violated the Student Code of
Conduct” (Ex. A to Def.’s Opp’n at 16) based upon their consideration of the lnvestigation Report,
Plaintiffs Response, and any additional information obtained through questioning individuals at
the Hearing. lmportantly, the Policy provides that Plaintiff, as the accused student, has “[t]he right
to a hearing outcome based on information presented during the hearing which the [C]ommittee

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finds credible, relevant and convincing.” (Id. at 14.) Thus, it is apparent that the Committee both
has the authority to question the lnvestigation Report and is expected to weigh and assess the
credibility of the evidence it contains.

The Committee will also consider Plaintiff s Response to the lnvestigation Report,
containing 21 pages of his analysis and critique of the lnvestigation, as Well as the attached exhibits
which include audio files, photos, call records and copies of text messages relevant to his claims.
(See Ex. A to Compl.) While Plaintiff notes that his Response submission is not incorporated into
the lnvestigation Report and thus lacks equivalent standing, this does not effectively deny him the
opportunity to present his defense, contrary to his contention ln fact, the lnvestigation Report
includes the summary of Plaintiff s interview where he raises his defenses and describes his
versions of the events at issue even though they were not separately investigated and corroborated
in the way the Roe and Roe 2 allegations were. l\/lore importantly, Plaintiff has made no allegation
nor offered any evidence that the Committee will likely give his Response less consideration than
it would the Response of an accused female student and therefore the fact that his Response may
not be on equal footing with the Report does not appear to bear on the question of whether Plaintiff
will suffer discrimination on the basis of his sex at the Hearing.

Plaintiffs core complaints about the conduct of the lnvestigation may take on a greater
significance in a fully developed record, after the Hearing outcome is known, such that a trier of
fact could determine the existence of lnvestigator gender bias or lnvestigation flaws violative of
Title IX. Here, however, the lnvestigation Report itself, the interim actions reflected in the
correspondence between the parties, and Plaintiff s Response, provide an insufficient basis for
concluding that the Hearing process or outcome will likely violate Plaintiff s Title lX rights,
requiring it to be enjoined and further postponed.

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The Court concludes that Plaintiff has failed to present clear or convincing evidence that
the Hearing he seeks to enjoin presents an actual and imminent threat of violating his civil rights
by discriminating against him based upon his sex. Because there is insufficient evidence at this
point to find that Plaintiff s civil rights are in imminent jeopardy should the Hearing proceed under
the current circumstances, the Court concludes Plaintiff has failed to establish irreparable harm
and thus is not entitled to preliminary injunctive relief.

III. Conclusion

For the foregoing reasons, Plaintiff s Motion for Preliminary lnjunction is DENIED and

the Hearing may proceed forthwith

lT lS SO ORDERED.

/s/
]anet Bond Arterton, U.S.D.].

Dated at New Haven, Connecticut this 3lst day of March 2017.

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